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Attorneys for Defendants

                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF HAWAIʻI


GRAHAM T. CHELIUS, M.D., et al.,        CIV. NO. 1:17-cv-00493-DKW-KSC
                     Plaintiffs,

             vs.                         NOTICE OF APPEARANCE ON
                                         BEHALF OF FEDERAL
ALEX M. AZAR, II, M.D., M.P.H., in       DEFENDANTS
his official capacity as SECRETARY,
U.S. D.H.H.S., et al.,

                     Defendants.
 NOTICE OF APPEARANCE ON BEHALF OF FEDERAL DEFENDANTS

      COMES NOW, U.S. Department of Justice Attorney Roger J. Gural, and

hereby enters his appearance before the U.S. District Court, District of Hawaii, on

behalf of the Federal Defendants for the above-captioned case.

      Dated: September 11, 2019.

                                             Respectfully submitted,

                                             JOSEPH H. HUNT
                                             Assistant Attorney General

                                             DAVID M. MORRELL
                                             Deputy Assistant Attorney General

                                             GUSTAV EYLER
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                                             /s/ Roger J. Gural
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